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                           UMTED STATES DISTRICT COI]RT

                           \4ESTERN DISTRICT OF LOUISIANA

                                    i\,IONROE DTV-ISION

     LI-NITED STATES OF AMERICA                   CRIMINAL NO.: 3:2 1-cr-000 16-0 1

     \ERSUS                                       DISTRICT JT]DGE DOUGHTY

     I,EE UNDERWOOD, JR. (01)                  * MAGISTRATE JI]DGE MCCLUSKY

                                      FACTUALBASIS

           This Factual Basis is submitted in acrordance with Federal Rules of Crirninal

     Procedure, Rule 11(0. The parties sigoing below agree and stipulate to the following

     factual matters as the basis for the Defendant pleading gunry to Cou-nts 2 and 3 of

     the Superseding Indictment:

           On November 20,2020,Iaw erforrcement exepuJed an arrest warant for LEE
                                        &',.s z17a *{,\'
     UNDERWOOD, JR. at his home i-n €Iaileee*, Louibiana. During a protective sweep,

     agents observed a firearm a:rd drug paraphernalia on a nightstand in

     UNDERWOOD's bedroom. Agents therefore obtai:red a search warrant for the

     residence.

           During the execution of the search warant, agenls recovered two loaded

     firearms - a Firefly pistol, Model:rGSG, caliber: 22 and a CVA ri-fle, Model: Elite
                      .is zna *\).
     Stalker, caliber: .16 Wba]en - Eom UNDERWOOD's bedrcom. Agents also seized

     methamphetamine ftorn UNDERWOOD's bedroom, bathroom, and vehicle. The

     methamphetamine was in infividually packaged baggles, and there were a-Iso unused

     baggies in UNDERIYOOD's bedroom. According to the Iab reports, the a mount of



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     "actual" or fuure" methamphetamine recovered from these locations totaled no more

     than 28 grams.

           The above-described facts do not represent the totality ofthe evidence obtained

     in this case. However, the parties signing belo*- agree and stipuJate that the above

     facts establish TiNDERWOOD's gtilt beyond a reasonable doubt to Counts 2 and 3 of

     the Superseding Inilictment.

           sig'ned this l,    day of        I                2021.

                                                              ER C. VAN HOOK
                                                          United          rney


     LEE UNDERWOOD, JR.                               SICA D. CAS
                                                  Assistant United States Attorney
                                                  300 Fannin Street, Suite 3201
                                                  Shreveport. Ircuisiana 71 101
                                                  (318) 676-3600
     71.1J-/ / t3.
     MICILAEL L. DUBOS
     Attorney for Defendant
